                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 COLUMBIA DIVISION


 PATRICIA WILLIAMS,                               )
                                                  )
        Plaintiff,                                )
                                                  )
 v.                                               )   NO. 1:16-cv-00026
                                                  )   CHIEF JUDGE CRENSHAW
 FRED’S INC.,                                     )
                                                  )
        Defendant.                                )


                                             ORDER

       The parties have filed a Joint Motion for Court Approval of Parties’ Settlement of Wage

Claims and Dismissal With Prejudice. (Doc. No. 28.) In an Order dated November 2, 2017, the

Court denied leave to file the settlement agreement under seal and gave the parties until November

10, 2017, to take action before the court would unseal the agreement and rule upon it. (See Doc.

No. 31.) The parties have not acted. Accordingly, the Settlement Agreement (Doc. No. 30) is

UNSEALED.

       The parties represent to the Court the settlement is fair and reasonable and adequately

compensates the Plaintiff regarding his disputed claims. The settlement is intended to resolve and

satisfy all of Plaintiff’s wage and hour claims, including the remedies available to Plaintiff under

the FLSA and state law, such as back wages, potential liquidated damages and attorney’s fees and

costs. The Court has reviewed and now APPROVES the settlement agreement as a fair and

reasonable resolution of Plaintiff’s wage and hour claims.

       This action is DISMISSED WITH PREJUDICE. The Clerk is directed to close the case.




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 IT IS SO ORDERED.



                               ____________________________________
                               WAVERLY D. CRENSHAW, JR.
                               CHIEF UNITED STATES DISTRICT JUDGE




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